Case 22-10173-KHK        Doc 21     Filed 03/14/22 Entered 03/14/22 07:46:37          Desc Main
                                   Document      Page 1 of 6




                                  United States Bankruptcy Court
                                   Eastern District of Virginia
                                       Alexandria Division

 In RE:                                         BCN#: 22-10173-KHK
 Young Sil Koh                                  Chapter: 13

        Debtor
 DEUTSCHE BANK NATIONAL TRUST
 COMPANY, as Trustee for MORGAN
 STANLEY MORTGAGE LOAN TRUST
 2004-11AR, MORTGAGE PASS-
 THROUGH CERTIFICATES, SERIES
 2004-11AR
 or present noteholder,

       Secured Creditor,
 v.
 Young Sil Koh
       Debtor


 OBJECTION OF DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR
   MORGAN STANLEY MORTGAGE LOAN TRUST 2004-11AR, MORTGAGE PASS-
                THROUGH CERTIFICATES, SERIES 2004-11AR
                  TO PROPOSED CHAPTER 13 PLAN AND
                       CONFIRMATION THEREOF

        DEUTSCHE BANK NATIONAL TRUST COMPANY, as Trustee for MORGAN
STANLEY MORTGAGE LOAN TRUST 2004-11AR, MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2004-11AR, and its assignees and/or successors in interest, a secured
creditor in the above-entitled Bankruptcy proceeding, hereby submits the following objections to
the confirmation of the Chapter 13 Plan proposed by Debtor:

        1.      This objecting secured creditor is the beneficiary of a trust deed on property
commonly known as 6204 Otter Run Rd, Clifton, VA 20124; the promissory note and deed of
trust were attached to the proof of claim filed by the secured creditor.

       2.      The debtor is due for estimated pre-petition arrears of $489,713.65.

       3.     The proposed Plan does not set forth a reasonable schedule and time period for
the payment of arrearages on the deed of trust.
Case 22-10173-KHK        Doc 21     Filed 03/14/22 Entered 03/14/22 07:46:37             Desc Main
                                   Document      Page 2 of 6




       4.     The proposed Chapter 13 plan does not provide this objecting secured creditor
with adequate protection or adequate security, according to Sections 362 and 1325(a) of the
Code.

        5.     As indicated by the debtor's payment history and schedules, the Plan is not
feasible.

       6.      The Plan does not propose to pay the secured creditor's entire claim, with
estimated arrears of $489,713.65.

         7.       The plan was not made in good faith, and the Debtor is a bad faith repeat filer.
The only other creditor is secured by a vehicle. Debtor does not have sufficient income to cure
the arrears, the bankruptcy was filed while the Debtor is under a bar to filing, and the purpose of
the filing is to thwart the creditor’s efforts to foreclose on the property.

Malcolm B. Savage, III, Esquire
William M. Savage, Esquire
Mary F. Balthasar Lake, Esquire
Gregory N. Britto, Esquire
Randa Azzam, Esquire
LOGS LEGAL GROUP LLP
10021 Balls Ford Road, Suite 200
Manassas, Virginia 20109
(703) 449-5800 20-287195




                                         CONCLUSION

        Any Chapter 13 Plan proposed by Debtors must provide for and eliminate the objections
specified above in order to be feasible and to provide adequate protection to this objecting
secured creditor. It is respectfully requested that confirmation of the Chapter 13 Plan as
proposed by Debtor be denied.

        WHEREFORE, secured creditor prays as follows:

        1.     That confirmation of the proposed Chapter 13 Plan be denied.
        2.     For attorney's fees and costs incurred herein.
        3.     That a hearing be held 04/20/2022, 01:30 PM, Judge Kindred's Courtroom, 200 S.
               Washington Street, 3rd Floor, Courtroom III, Alexandria, VA, on this objection;
               however, the hearing shall be conducted pursuant to Standing Order 21-12.
               Please see Notice of Objection and Hearing.
        4.     For such other relief as this Court deems proper.
Case 22-10173-KHK        Doc 21     Filed 03/14/22 Entered 03/14/22 07:46:37            Desc Main
                                   Document      Page 3 of 6




Dated: 3/14/2022                      Respectfully submitted
                                      DEUTSCHE BANK NATIONAL TRUST COMPANY, as
                                      Trustee for MORGAN STANLEY MORTGAGE LOAN
                                      TRUST 2004-11AR, MORTGAGE PASS-THROUGH
                                      CERTIFICATES, SERIES 2004-11AR
                                      By Counsel:

                                      /s/ Mary F. Balthasar Lake

                                      Malcolm B. Savage, III, Esquire
                                      William M. Savage, Esquire
                                      Mary F. Balthasar Lake, Esquire
                                      Gregory N. Britto, Esquire
                                      Randa Azzam, Esquire
                                      LOGS LEGAL GROUP LLP
                                      10021 Balls Ford Road, Suite 200
                                      Manassas, Virginia 20109
                                      (703) 449-5800


I certify that I have electronically transmitted and/or mailed true copies of the above Objections
to the Chapter 13 Plan, by First Class Mail, postage prepaid on this 14th day of March, 2022, to
the following:


Thomas P. Gorman
300 N. Washington St. Ste. 400
Alexandria, VA 22314

Young Sil Koh
6204 Otter Run Rd
Clifton, VA 20124

                                      /s/ Mary F. Balthasar Lake

                                      Malcolm B. Savage, III, Esquire
                                      William M. Savage, Esquire
                                      Mary F. Balthasar Lake, Esquire
                                      Gregory N. Britto, Esquire
                                      Randa Azzam, Esquire

20-287195
Case 22-10173-KHK        Doc 21     Filed 03/14/22 Entered 03/14/22 07:46:37           Desc Main
                                   Document      Page 4 of 6




                                  United States Bankruptcy Court
                                   Eastern District of Virginia
                                       Alexandria Division

 In RE:                                         BCN#: 22-10173-KHK
 Young Sil Koh                                  Chapter: 13

        Debtor
 DEUTSCHE BANK NATIONAL TRUST
 COMPANY, as Trustee for MORGAN
 STANLEY MORTGAGE LOAN TRUST
 2004-11AR, MORTGAGE PASS-
 THROUGH CERTIFICATES, SERIES
 2004-11AR
 or present noteholder,

       Secured Creditor,
 v.
 Young Sil Koh
       Debtor


                           NOTICE OF OBJECTION AND HEARING

       DEUTSCHE BANK NATIONAL TRUST COMPANY, as Trustee for MORGAN
STANLEY MORTGAGE LOAN TRUST 2004-11AR, MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2004-11AR has filed papers with the court objecting to the proposed
Chapter 13 plan and confirmation thereof.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
may wish to consult one.)

        In order to oppose this motion, you must also attend the preliminary hearing scheduled to
be held on: 04/20/2022, 01:30 PM, Judge Kindred's Courtroom, 200 S. Washington Street, 3rd
Floor, Courtroom III, Alexandria, VA; however, the hearing shall be conducted pursuant to
Temporary Emergency Provisions Regarding ZoomGov Remote Proceeding Access Information
which is available on the court’s website.

       If you or your attorney do not take these steps, the court may decide that you do not
oppose the relief sought in the motion and may enter an order granting that relief.
Case 22-10173-KHK       Doc 21     Filed 03/14/22 Entered 03/14/22 07:46:37          Desc Main
                                  Document      Page 5 of 6




              REMOTE HEARING INFORMATION:

              Due to the COVID−19 public health emergency, no in-person
              hearings are being held.

              This hearing will take place remotely through Zoom on the date and
              time scheduled herein.
              To appear at the hearing, you must send, by email, a completed request form (the
              “Zoom Request Form”), which is available on the Court's internet website at
              www.vaeb.courts.gov, on the page titled, “Temporary Emergency Provisions
              Regarding ZoomGov Remote Proceeding Access Information.” Email your
              completed Zoom Request Form to the email address listed for the Judge assigned
              to the case. Following receipt of your Zoom Request Form, Court staff will respond
              to the email address from which the request was submitted with additional
              information on how to participate through Zoom.

              ***The email address shall be used only to submit Zoom Request Forms. No other
              matters or requests will be considered by Court staff, and under no circumstances
              will any such matters or requests be brought to the Judge’s attention. Failure to
              comply with these instructions may result in appropriate action, including but not
              limited to the imposition of sanctions.***


       PLEASE NOTE: You MUST submit the Zoom Request Form no later than two (2)
business days prior to this hearing. Any documentary evidence the parties wish to present at the
hearing must be filed with the Court in advance of the hearing.
Dated: 3/14/2022                      LOGS LEGAL GROUP LLP
                                      Attorneys for DEUTSCHE BANK NATIONAL TRUST
                                      COMPANY, as Trustee for MORGAN STANLEY
                                      MORTGAGE LOAN TRUST 2004-11AR, MORTGAGE
                                      PASS-THROUGH CERTIFICATES, SERIES 2004-11AR

                                       /s/ Mary F. Balthasar Lake
                                 By:
                                       Malcolm B. Savage, III, Esquire
                                       William M. Savage, Esquire
                                       Mary F. Balthasar Lake, Esquire
                                       Gregory N. Britto, Esquire
                                       Randa Azzam, Esquire
                                       LOGS LEGAL GROUP LLP
                                       10021 Balls Ford Road, Suite 200
                                       Manassas, Virginia 20109
                                       (703) 449-5800
Case 22-10173-KHK       Doc 21     Filed 03/14/22 Entered 03/14/22 07:46:37           Desc Main
                                  Document      Page 6 of 6




                                 CERTIFICATE OF SERVICE

I hereby certify that on the 14th day of March, 2022 the following person(s) were served a copy
of the foregoing in the manner described below:

Via CM/ECF Electronic Notice:

Thomas P. Gorman                                                       Chapter 13 Trustee
300 N. Washington St. Ste. 400
Alexandria, VA 22314

Via First Class Mail, Postage Prepaid:

Young Sil Koh                                                          Debtor(s)
6204 Otter Run Rd
Clifton, VA 20124

                                            /s/ Mary F. Balthasar Lake
                                            _____________________________
                                            Malcolm B. Savage, III, Esquire VSB #91050
                                            William M. Savage, Esquire VSB #26155
                                            Mary F. Balthasar Lake, Esquire VSB #34899
                                            Gregory N. Britto, Esquire VSB #23476
                                            Randa Azzam, Esquire VSB #31539
                                            LOGS LEGAL GROUP LLP
                                            10021 Balls Ford Road, Suite 200
                                            Manassas, Virginia 20109
                                            (703) 449-5800
                                            logsecf@logs.com       20-287195
